                                                                               08/27/2024


     IN THE SUPREME COURT OF THE STATE OF MONTANA Case Number: DA 23-0332
                            Nos. DA 23-0332

STATE OF MONTANA,

           Plaintiff and Appellee,

     v.

DAVID ANDREW BOUCHER,

           Defendant and Appellant.

_______________________________________________________________
                                ORDER

     Upon consideration of Appellant’s motion for extension of time,

and good cause appearing,

     IT IS HEREBY ORDERED that Appellant is granted an extension

of time to and including October 10, 2024, within which to prepare, file,

and serve the Appellant’s Reply Brief.

     No further extension will be granted.




                                                                Electronically signed by:
                                                                      Mike McGrath
                                                         Chief Justice, Montana Supreme Court
                                                                     August 27 2024
